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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 
           Chris Langer,                           Case No.
 
                   Plaintiff,
                                                Complaint For Damages And
             v.                                    Injunctive Relief For Violations
                                                Of: American’s With Disabilities
           Ontario West, LLC, a California         Act; Unruh Civil Rights Act
        Limited Liability Company;
           Erik Valencia; and Does 1-10,
 
                   Defendants.
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 
               Plaintiff Chris Langer complains of Ontario West, LLC, a California
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       Limited Liability Company; Erik Valencia; and Does 1-10 (“Defendants”),
 
       and alleges as follows:
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           PARTIES:
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           1. Plaintiff is a California resident with physical disabilities. He is a
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       paraplegic who cannot walk and who uses a wheelchair for mobility. He has a
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       specially equipped van with a ramp that deploys out of the passenger side of
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       his van and he has a Disabled Person Parking Placard issued to him by the State

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     of California.
         2. Defendant Ontario West, LLC owned the real property located at or
     about 6502 Westminster Blvd., Westminster, California, in January 2019.
         3. Defendant Ontario West, LLC owns the real property located at or about
     6502 Westminster Blvd., Westminster, California, currently.
         4. Defendant Erik Valencia owned Yaki Tori located at or about 6502
     Westminster Blvd., Westminster, California, in January 2019.
         5. Defendant Erik Valencia owns Yaki Tori (“Restaurant”) located at or
     about 6502 Westminster Blvd., Westminster, California, currently.
        6. Plaintiff does not know the true names of Defendants, their business
    capacities, their ownership connection to the property and business, or their
    relative responsibilities in causing the access violations herein complained of,
    and alleges a joint venture and common enterprise by all such Defendants.
    Plaintiff is informed and believes that each of the Defendants herein,
    including Does 1 through 10, inclusive, is responsible in some capacity for the
    events herein alleged, or is a necessary party for obtaining appropriate relief.
    Plaintiff will seek leave to amend when the true names, capacities,
    connections, and responsibilities of the Defendants and Does 1 through 10,
    inclusive, are ascertained.
 
        JURISDICTION & VENUE:
        7. The Court has subject matter jurisdiction over the action pursuant to 28
    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
        8. Pursuant to supplemental jurisdiction, an attendant and related cause
    of action, arising from the same nucleus of operative facts and arising out of
    the same transactions, is also brought under California’s Unruh Civil Rights
    Act, which act expressly incorporates the Americans with Disabilities Act.


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         9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
     founded on the fact that the real property which is the subject of this action is
     located in this district and that Plaintiff's cause of action arose in this district.
  
         FACTUAL ALLEGATIONS:
         10.Plaintiff went to the Restaurant in January 2019 with the intention to
     avail himself of its goods and services, motivated in part to determine if the
     defendants comply with the disability access laws.
         11.The Restaurant is a facility open to the public, a place of public
    accommodation, and a business establishment.
        12.Parking spaces are one of the facilities, privileges, and advantages
    offered by Defendants to patrons of the Restaurant.
        13.Although parking spaces were one of the facilities specifically reserved
    for patrons, there were no compliant, accessible parking spaces available for
    persons with disabilities that complied with the Americans with Disability Act
    Accessibility Guidelines.
        14.While there seemed to once be a parking space reserved for persons with
    disabilities in the parking lot serving the Restaurant that is no longer the case.
    Instead, there was just a parking stall designed for persons with disabilities but
    there was no access aisle that accompanied the parking stall during plaintiff’s
    visit.
        15.On information and belief, plaintiff alleges that there used to be
    accessible parking spaces reserved for persons with disabilities in the parking
    lot but they have been allowed to fade or get paved over.
        16.Defendants have no policy in place to make sure that parking spaces are
    maintained for use by persons with disabilities.
        17.Plaintiff personally encountered this barrier.
        18.This inaccessible facility denied the plaintiff full and equal access and


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     caused him difficulty.
         19.Service counters are another one of the facilities, privileges and
     advantages offered by Defendants to patrons of the Restaurant.
         20.Meanwhile, and even though the plaintiff did not personally confront
     the barrier, the outside service counter at the Restaurant, where customers
     pick up food, is inaccessible to wheelchair users.
         21.The outside service counter where customers pick their orders is located
     41 inches above the finish floor.
         22.Defendants have failed to maintain in operable working condition those
    features of facilities and equipment that are required to be readily accessible to
    and usable by persons with disabilities at the Subject Property.
        23.The defendants have failed to maintain in working and useable
    conditions those features required to provide ready access to persons with
    disabilities.
        24.The barriers identified above are easily removed without much
    difficulty or expense. They are the types of barriers identified by the
    Department of Justice as presumably readily achievable to remove and, in fact,
    these barriers are readily achievable to remove. Moreover, there are numerous
    alternative accommodations that could be made to provide a greater level of
    access if complete removal were not achievable.
        25.For example, there are numerous paint/stripe companies that will come
    and stripe an accessible parking stall and access aisle and install proper signage
    on rapid notice, with very modest expense, sometimes as low as $300 in full
    compliance with federal and state access standards.
        26.Plaintiff will return to the Restaurant to avail himself of its goods or
    services and to determine compliance with the disability access laws. He is
    currently deterred from doing so because of his knowledge of the existing
    barriers. If the barriers are not removed, the plaintiff will face unlawful and


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     discriminatory barriers again.
         27.Given the obvious and blatant nature of the barriers and violations
     alleged herein, the plaintiff alleges, on information and belief, that there are
     other violations and barriers on the site that relate to his disability. Plaintiff will
     amend the complaint, to provide proper notice regarding the scope of this
     lawsuit, once he conducts a site inspection. However, please be on notice that
     the plaintiff seeks to have all barriers related to his disability remedied. See
     Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
     encounters one barrier at a site, he can sue to have all barriers that relate to his
    disability removed regardless of whether he personally encountered them).
 
    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
    Defendants.) (42U.S.C. section 12101, et seq.)
        28.Plaintiff re-pleads and incorporates by reference, as if fully set forth
    again herein, the allegations contained in all prior paragraphs of this
    complaint.
        29.Under the ADA, it is an act of discrimination to fail to ensure that the
    privileges, advantages, accommodations, facilities, goods and services of any
    place of public accommodation is offered on a full and equal basis by anyone
    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
    § 12182(a). Discrimination is defined, inter alia, as follows:
              a. A failure to make reasonable modifications in policies, practices,
                 or procedures, when such modifications are necessary to afford
                 goods,     services,     facilities,   privileges,    advantages,      or
                 accommodations to individuals with disabilities, unless the
                 accommodation would work a fundamental alteration of those
                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).


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               b. A failure to remove architectural barriers where such removal is
                   readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                   defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
                   Appendix “D.”
               c. A failure to make alterations in such a manner that, to the
                   maximum extent feasible, the altered portions of the facility are
                   readily accessible to and usable by individuals with disabilities,
                   including individuals who use wheelchairs or to ensure that, to the
                   maximum extent feasible, the path of travel to the altered area and
                  the bathrooms, telephones, and drinking fountains serving the
                  altered area, are readily accessible to and usable by individuals
                  with disabilities. 42 U.S.C. § 12183(a)(2).
        30.Each accessible parking stall must have an access aisle adjacent to it.
    Standard accessible parking stalls can have a 60-inch-wide access aisle while
    van accessible stalls must have a 96 inch wide access aisle. 2010 Standards §
    502.2.
        31.Here, the failure to have an access aisle is a violation of the ADA.
        32.Under the 2010 Standards, where the approach to the sales or service
    counter is a parallel approach, such as in this case, there must be a portion of
    the sales counter that is no higher than 36 inches above the floor and 36 inches
    in width and must extend the same depth as the rest of the sales or service
    counter top. 2010 Standards § 904.4 & 904.4.1.
        33.Here, no such accessible service counter has been provided in violation
    of the ADA.
        34.The Safe Harbor provisions of the 2010 Standards are not applicable
    here because the conditions challenged in this lawsuit do not comply with the
    1991 Standards.
        35.A public accommodation must maintain in operable working condition


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     those features of its facilities and equipment that are required to be readily
     accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
         36.Here, the failure to ensure that the accessible facilities were available
     and ready to be used by the plaintiff is a violation of the law.
  
     II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
     RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
     Code § 51-53.)
         37.Plaintiff repleads and incorporates by reference, as if fully set forth
    again herein, the allegations contained in all prior paragraphs of this
    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
    that persons with disabilities are entitled to full and equal accommodations,
    advantages, facilities, privileges, or services in all business establishment of
    every kind whatsoever within the jurisdiction of the State of California. Cal.
    Civ. Code §51(b).
        38.The Unruh Act provides that a violation of the ADA is a violation of the
    Unruh Act. Cal. Civ. Code, § 51(f).
        39.Defendants’ acts and omissions, as herein alleged, have violated the
    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
    rights to full and equal use of the accommodations, advantages, facilities,
    privileges, or services offered.
        40.Because the violation of the Unruh Civil Rights Act resulted in difficulty,
    discomfort or embarrassment for the plaintiff, the defendants are also each
    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
    (c).)
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            PRAYER:
            Wherefore, Plaintiff prays that this Court award damages and provide
     relief as follows:
         1.For injunctive relief, compelling Defendants to comply with the
     Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
     plaintiff is not invoking section 55 of the California Civil Code and is not
     seeking injunctive relief under the Disabled Persons Act at all.
         2.Damages under the Unruh Civil Rights Act, which provides for actual
     damages and a statutory minimum of $4,000.
        3.Reasonable attorney fees, litigation expenses and costs of suit, pursuant
    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
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       Dated: February 11, 2019         CENTER FOR DISABILITY ACCESS
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                                        By: ____________________________________
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                                               Chris Carson, Esq.
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